Case 1:06-cr-00198-SOM     Document 509   Filed 02/10/09   Page 1 of 12 PageID.3896



                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,           )       CR. NO. 06-00198 SOM
                                     )
             Plaintiff,              )       ORDER DENYING KEVIN BRUNN’S
                                     )       AND MICHA TERRAGNA’S MOTIONS
       vs.                           )       FOR JUDGMENT OF ACQUITTAL AND
                                     )       FOR NEW TRIAL
 KEVIN BRUNN (05);                   )
 MICHA TERRAGNA (06),                )
                                     )
             Defendants.             )
                                     )
                                     )
 _____________________________

      ORDER DENYING KEVIN BRUNN’S AND MICHA TERRAGNA’S MOTIONS
             FOR JUDGMENT OF ACQUITTAL AND FOR NEW TRIAL

 I.          INTRODUCTION.

             On December 19, 2008, Defendant Kevin Brunn, a former

 police officer, was convicted of obstructing justice in violation

 of 18 U.S.C. § 1511 (Count 3), conspiracy to obstruct interstate

 commerce by extortion in violation of 18 U.S.C. § 1951 (Count 4),

 and multiple counts of extortion in violation of 18 U.S.C. § 1951

 (Counts 5 to 8).        He was acquitted of conspiring to run an

 illegal gambling business in violation of 18 U.S.C. § 371 (Count

 1) and of running an illegal gambling business in violation of 18

 U.S.C. § 1955 (Count 2).        Defendant Micha Terragna, now Brunn’s

 wife, was convicted of conspiring to run an illegal gambling

 business in violation of 18 U.S.C. § 371 (Count 1), and running

 an illegal gambling business in violation of 18 U.S.C. § 1955

 (Count 2), as well as obstructing justice in violation of 18

 U.S.C. § 1511 (Count 3), and multiple counts of aiding and
Case 1:06-cr-00198-SOM   Document 509       Filed 02/10/09    Page 2 of 12 PageID.3897



 abetting extortion in violation of 18 U.S.C. § 1951 and 18 U.S.C.

 § 2 (Counts 5 to 8).      She was acquitted of conspiring to obstruct

 interstate commerce by extortion in violation of 18 U.S.C. § 1951

 (Count 4).    Both Brunn and Terragna move for judgments of

 acquittal under Rule 29(c)(1) of the Federal Rules of Criminal

 Procedure.    They also move for new trials pursuant to Rule 33(a)

 of the Federal Rules of Criminal Procedure.                 For the following

 reasons, the motions are DENIED.

 II.        DISCUSSION.

            A.    Rule 29 Motions.

            Rule 29(a) requires this court to grant a motion for

 judgment of acquittal “if the evidence is insufficient to sustain

 a conviction.”    Fed. R. Crim. P. 29(a).            On a motion for judgment

 of acquittal under Rule 29(a), this court must view the evidence

 in the light most favorable to the Government, deciding whether a

 rational jury could have found Defendants Brunn and Terragna

 guilty beyond a reasonable doubt.            See United States v. Hazeem,

 679 F.2d 770, 772 (9th Cir.).      Accord Jackson v. Virginia, 443

 U.S. 307, 319 (1979)(“when deciding a motion based on alleged

 insufficiency of the evidence, the relevant question is whether,

 after viewing the evidence in the light most favorable to the

 prosecution, any rational trier of fact could have found the

 essential elements of the crime beyond a reasonable doubt”);

 United States v. Disla, 805 F.2d 1340, 1348 (9th Cir. 1986) (“A


                                        2
Case 1:06-cr-00198-SOM   Document 509       Filed 02/10/09   Page 3 of 12 PageID.3898



 conviction is supported by the evidence if, viewing the evidence

 in the light most favorable to the government and drawing all

 reasonable inferences, there was relevant evidence from which the

 jury could reasonably have found the defendant guilty beyond a

 reasonable doubt”); United States v. Cusino, 694 F.2d 185, 187

 (9th Cir. 1982).

                  1. Sufficiency of the Evidence.

            At the close of evidence at trial, Brunn and Terragna

 made oral motions for judgments of acquittal on all counts based

 on the insufficiency of the evidence.             Their motions were denied.

 They now renew those motions, pursuant to Rule 29 of the Federal

 Rules of Criminal Procedure.      The motions are timely, having been

 filed within seven days of the guilty verdict, as required by

 Rule 29(c)(1).

            This court finds no basis for withdrawing its earlier

 denial of the Rule 29 motions.         Testimony by government witnesses

 and wiretaps of intercepted calls implicated Kevin Brunn in

 obstruction of justice, conspiracy to extort, and extortion.

 There was sufficient evidence to support the jury’s findings of

 Brunn’s guilt on those counts.         Extensive testimony by

 cooperating defendants, wiretapped telephone calls, and

 Terragna’s own statements to the FBI implicated her in the

 gambling operation, obstruction of justice, and extortion.                  There

 was sufficient evidence to support the jury’s findings of


                                        3
Case 1:06-cr-00198-SOM   Document 509       Filed 02/10/09   Page 4 of 12 PageID.3899



 Terragna’s guilt on those counts.            The motions for judgment of

 acquittal on the basis of insufficient evidence are DENIED.

                  2. Inconsistent Verdicts.

            Brunn and Terragna argue that the jury’s verdicts were

 inconsistent, and that their convictions therefore may not stand.

 This court does not see the verdicts as factually inconsistent.

 Even if the verdicts were inconsistent, that would not be grounds

 for acquittal.

            Brunn was acquitted of Counts 1 and 2, which allege

 conspiracy to run an illegal gambling business and the actual

 running of such a business, repectively.              He was nonetheless

 convicted of conspiring to obstruct the enforcement of the

 criminal laws of the State of Hawaii with intent to facilitate an

 illegal gambling business (Count 3).             Brunn argues that the

 acquittals on the first two counts indicate that the jury

 rejected the government’s attempt to implicate him in the illegal

 gambling business in any way.

            This court sees no inconsistency with respect to Brunn.

 Conducting an illegal gambling business is factually distinct

 from obstructing justice with the intent to facilitate an illegal

 gambling business.      A jury may well have found that one fact

 pattern existed, while another did not.

            Terragna was acquitted of the conspiracy to extort

 (Count 4), but she was convicted of substantive acts of extortion

 (Counts 5-8).    She contends that, because the factual bases for

                                        4
Case 1:06-cr-00198-SOM   Document 509       Filed 02/10/09     Page 5 of 12 PageID.3900



 Counts 5 to 8 are similar to the bases for Count 4, an acquittal

 with respect to Count 4 requires that the convictions on Counts 5

 to 8 be set aside.

            First, Terragna asserts that Count 4 and Counts 5 to 8

 are multiplicitous.      That is, they charge the same offense in

 several counts.     Multiplicity violates the Fifth Amendment by

 subjecting a defendant to double jeopardy.                  Brown v. Ohio, 432

 U.S. 161, 165 (1977).      The Ninth Circuit uses the Blockburger

 test to evaluate claims of double jeopardy.                  "[W]here the same

 act or transaction constitutes a violation of two distinct

 statutory provisions, the test to be applied to determine whether

 there are two offenses or only one, is whether each provision

 requires proof of a fact which the other does not."                   United

 States v. Schales, 546 F.3d 965, 977 (9th Cir. 2008)(citing

 Blockburger v. United States, 284 U.S. 299, 304 (1932)).

            The conspiracy count in Count 4 charges Terragna and

 Brunn with entering into an agreement to commit acts of

 extortion; this agreement is an additional element, distinct from

 the extortion acts themselves.         Further, the charge against

 Terragna of aiding and abetting extortion also required a finding

 that Brunn, the principal, committed the underlying offense; the

 jury had to find that Brunn did in fact extort money from Charles

 Gilman.   This completed act is an element not contained in the

 conspiracy charge.      The Second Circuit is instructive on this

 particular situation, holding that an acquittal on a conspiracy

                                        5
Case 1:06-cr-00198-SOM   Document 509       Filed 02/10/09   Page 6 of 12 PageID.3901



 charge does not require acquittal on the substantive charges, as

 the elements are distinct.      United States v. Slocum, 695 F.2d

 650, 656 (2d Cir. 1982)(“Since the conspiracy and substantive

 counts required proof of different elements they did not

 constitute the same offense for double jeopardy purposes.”).

            Second, Terragna maintains, like Brunn, that her

 verdict is factually inconsistent.            This court does not agree.

 The jury may well have found that Terragna aided and abetted the

 acts of extortion without first forming an agreement with Brunn

 and others, as the conspiracy charge required.                While Terragna

 contends that she and Brunn were the only identified

 conspirators, the conspiracy count in fact charged Terragna and

 Brunn with conspiring with each other and with others known and

 unknown to the Grand Jury to obstruct interstate commerce by

 extortion.    Terragna was found by the jury not to have

 participated in this larger agreement, but it does not follow

 that she did not actually facilitate the acts of extortion.

            Even assuming that their verdicts were factually

 inconsistent, as Brunn and Terragna assert, acquittal would not

 be warranted.    "Consistency in the verdict is not necessary.

 Each count in an indictment is regarded as if it was a separate

 indictment."    United States v. Powell, 469 U.S. 57, 62

 (1984)(internal citations omitted).            The Supreme Court in Powell

 upheld a defendant’s conviction for using the telephone to

 facilitate several felonies, although the defendant was acquitted

                                        6
Case 1:06-cr-00198-SOM   Document 509       Filed 02/10/09   Page 7 of 12 PageID.3902



 of the underlying felonies of conspiracy to distribute narcotics

 and possession of narcotics with intent to distribute.                 The

 telephone charge appeared to rely on participation in the drug

 conspiracy or the commission of the drug felony.                However, this

 did not mean that the telephone conviction was itself in error.

 Rather, the Court noted that any number of factors could have

 caused the inconsistency, from leniency by the jury to error on

 either the telephone count conviction or the conspiracy and

 possession acquittals.      It therefore did not follow that the

 defense was necessarily prejudiced.            Id. at 65. ("[I]t is unclear

 whose ox has been gored.")

            The Court further noted that “a criminal defendant

 already is afforded protection against jury irrationality or

 error by the independent review of the sufficiency of the

 evidence undertaken by the trial and appellate courts.”                 Id. at

 67.   This court has conducted an independent review of the

 sufficiency of the evidence and found no reason to vacate the

 convictions before it.

            Finally, Brunn moves for acquittal with respect to

 Count 4, the conspiracy to interfere with interstate commerce by

 extortion.    As Terragna was acquitted of this conspiracy, Brunn

 argues that his conviction would make him a lone conspirator.

 This court recognizes that “[b]ecause a person cannot conspire

 with himself, the Government must prove that at least two people

 were involved in the conspiracy.”            United States v. Sangmeister,

 685 F.2d 1124, 1126 (9th Cir. 1982).             However, Brunn was charged

                                        7
Case 1:06-cr-00198-SOM   Document 509       Filed 02/10/09   Page 8 of 12 PageID.3903



 with conspiring with Terragna and with others known and unknown

 to the grand jury to extort money from Charles Gilman.                 There was

 evidence that one or more other police officers were involved in

 sending a police car over to the illegal gambling business as a

 threat to Charles Gilman.      The jury may have believed that Brunn

 conspired with another officer, rather than with Terragna, in

 this regard.

            Even if Terragna were Brunn’s only possible co-

 conspirator, the Ninth Circuit clearly permits inconsistent

 verdicts regarding co-conspirators.            “It is well established that

 a person may be convicted of conspiring with a co-defendant even

 when the jury acquits that co-defendant of conspiracy.”                 United

 States v. Ching Tang Lo, 447 F.3d 1212, 1226 (9th Cir. 2006).                   In

 United States v. Valles-Valencia, 823 F.2d 381, 382 (9th Cir.

 1987), the Ninth Circuit affirmed a conspiracy conviction, even

 though the Government’s proof went only to the convicted

 conspirator’s agreement with people acquitted of conspiracy.                  See

 also United States v. Hughes Aircraft Co., 20 F.3d 974, 977-78

 (9th Cir. 1994) (affirming a conspiracy conviction when an

 "indispensable co-conspirator" was acquitted of conspiracy on

 identical evidence).      Thus, the Ninth Circuit permits Brunn to be

 convicted of conspiring with Terragna, even though Terragna was

 acquitted with respect to that very conspiracy charge.                 The

 motions for acquittal based on purported inconsistencies in the

 verdicts are DENIED.



                                        8
Case 1:06-cr-00198-SOM   Document 509       Filed 02/10/09   Page 9 of 12 PageID.3904



            B. Rule 33 Motions.

            Rule 33 of the Federal Rules of Criminal Procedure

 provides: “The court on motion of a defendant may grant a new

 trial to that defendant if required in the interest of justice.”

 A district court’s power to grant a motion for a new trial is

 much broader than its power to grant a motion for judgment of

 acquittal.    United States v. Alston, 974 F.2d 1206, 1211 (9th

 Cir. 1992).    The court need not view the evidence in the light

 most favorable to the verdict; it may weigh the evidence and in

 so doing evaluate for itself the credibility of the witnesses.

 Id.   When the court determines that, “despite the abstract

 sufficiency of the evidence to sustain the verdict, the evidence

 preponderates sufficiently heavily against the verdict that a

 serious miscarriage of justice may have occurred, it may set

 aside the verdict, grant a new trial, and submit the issues for

 determination by another jury."        Id. at 1211-12; United States v.

 Pimentel, 654 F.2d 538, 545 (9th Cir. 1981)(“A motion for a new

 trial is directed to the discretion of the district judge.                  It

 should be granted only in exceptional cases in which the evidence

 preponderates heavily against the verdict.”)(citation omitted).

            Brunn and Terragna allege that this court erred in

 responding to the jury’s Note #1, which asked for clarification

 of the jury instruction regarding Micha Terragna’s role as an

 aider and abetter in the extortion counts (Counts 5 to 8).                  The

 court directed the jury to the explanation on pages 28 to 29 of

 the jury instructions, which described aiding and abetting in the

                                        9
Case 1:06-cr-00198-SOM   Document 509    Filed 02/10/09   Page 10 of 12 PageID.3905



 context of operating an illegal gambling business.

             Brunn argues that he was deprived of a fair trial

 because, although he was charged as a principal actor, the

 court’s response to the jury’s Note #1 purportedly implied that

 Brunn could be found to be an aider and abettor.              Terragna

 similarly objects to the court’s response, arguing that the count

 confused the jury by failing to specify in its response that

 Kevin Brunn was the principal actor.

             Terragna and Brunn do not show prejudice.            Page 52 of

 the jury instructions explains that Terragna was charged as an

 aider and abetter and that Kevin Brunn as the principal actor.

 The instructions further clarify that Micha Terragna could not be

 convicted without an initial finding that Kevin Brunn did indeed

 commit the crime.       Nothing in the response to the jury’s Note #1

 implied that these instructions were to be disregarded.               In fact,

 the response to the jury’s Note #1 reiterated that Terragna was

 charged as an aider and abetter and could not be guilty of Counts

 5 to 8 unless Brunn was found guilty of the principal offense.

 The wording of the jury instructions regarding aiding and

 abetting derives from Ninth Circuit Model Criminal Jury

 Instruction No. 5.1, intended for use in any relevant criminal

 charge.    The response to Question #2 of the jury’s Note #1 was

 proper and not confusing, and neither Terragna nor Brunn was

 prejudiced as a result.      The motions for a new trial on this

 basis are DENIED.

             Next, Terragna cites the admission of evidence

                                        10
Case 1:06-cr-00198-SOM   Document 509    Filed 02/10/09   Page 11 of 12 PageID.3906



 recovered during the search of her home as a basis for ordering a

 new trial.    She claims that the Ninth Circuit’s recent decision

 in United States v. Craighead, 539 F. 3d 1073 (9th Cir. 2008),

 required the exclusion of this evidence at trial.              This court has

 already rejected this argument in denying Terragna’s motion to

 suppress and her motion to reconsider that denial.              The court has

 ruled that, while Craighead clarified what constitutes a

 custodial interrogation, the Ninth Circuit’s opinion did not

 affect the status of the evidence at issue.              Terragna’s motion

 presents no new information.       The motion for a new trial on this

 basis is DENIED.

             Brunn also alleges error in the Court’s admission at

 trial of statements he made on March 31, 2005.              Brunn claims that

 these statements were made in violation of his Fifth Amendment

 rights.    He further claims that the statements were prejudicial

 and irrelevant, pursuant to Rule 403 of the Federal Rules of

 Evidence.    Brunn’s objections to the admissibility of these

 statements were addressed before and during trial, and he

 advances no new legal or factual basis here.              This court

 accordingly DENIES the motion for a new trial on this basis.

 IV.         CONCLUSION.

             Terragna’s and Brunn’s motions for judgments of

 acquittal pursuant to Rule 29 (c)(1) and for new trial pursuant




                                        11
Case 1:06-cr-00198-SOM   Document 509    Filed 02/10/09   Page 12 of 12 PageID.3907



 to Rule 33 of the Federal Rules of Criminal Procedure are

 DENIED.




             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, February 10, 2009.



                                     /s/ Susan Oki Mollway
                                    Susan Oki Mollway
                                    United States District Judge




 United States of America v. Micha Terragna, CR. NO. 06-00198-06
 SOM; ORDER DENYING KEVIN BRUNN’S AND MICHA TERRAGNA’S MOTIONS
 FOR JUDGMENT OF ACQUITTAL AND FOR NEW TRIAL.




                                        12
